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   Matter A Monthly Cash Flow

          Gross $ 750,000                       S|H Overhead $ 25,000
    S|H Reserve $ 225,000                             Website $ 1,000
  S|H Overhead $ 25,000                           Office Space $ 10,000
                                                   Accountant $ 3,000
            Net $ 500,000                        Outside Attys $ 3,000
                              Annualized                  Misc $ 8,000
           Judd $     100,000 $ 1,200,000
           Chris $    100,000 $ 1,200,000
         Allison $     50,000 $    600,000
           Amy $       50,000 $    600,000
             Joe $     50,000 $    600,000
           Katie $     50,000 $    600,000
         Jordan $      15,000 $    180,000

Add'l Firm Profit $    85,000

   Bonuses at the resolution of Matter A at management's sole discretion
   Checks cut on rolling basis w/in 2 business days payment from client clearing
   Pro rata checks if pro rata payment
   Guaranteed equal membership in S|H at a Class A membership level*
   *management retains exclusive control
   *any later-admitted members will be at a Class B level




                                                                                   EXHIBIT

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